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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,

                         Plaintiff,
                                                    Case No.: 23-CR-80219-AMC
          v.
                                                    NOTICE OF FILING
   MICHAEL GORDON DOUGLAS,

                          Defendant.


         COMES NOW, the United States of America, by and through its undersigned Assistant

  United States Attorney, and hereby files this notice of filing Exhibit #3, as ordered by the Court

  on September 17, 2024. See Docket Entry 92.

                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY

                                               By: s/ GREGORY SCHILLER______
                                                      Gregory Schiller
                                                      Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of this notice was filed via the Court’s electronic filing
  system on September 17, 2024.

                                                              s/ Gregory Schiller
                                                              Gregory Schiller
                                                              Assistant United States Attorney
